                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

UNITED STATES OF AMERICA,                   )
                                            )
       Plaintiff,                           )
                                            )       No.: 3:06-cr-149
v.                                          )
                                            )       Judges Phillips/Shirley
BRIAN KEITH JONES,                          )
                                            )
       Defendant.                           )


                                        INDICTMENT


                                           Count One

               The Grand Jury charges that on or about May 17, 2005, in the Eastern District of

Tennessee, Defendant BRIAN KEITH JONES, having previously been convicted in a court of a

crime punishable by a term of imprisonment exceeding one year, did knowingly possess, in and

affecting commerce, a firearm, namely a Smith & Wesson 9mm semi-automatic pistol, and

ammunition.

[Title 18, United States Code, Section 922(g)(1)]




                                          Page 1 of 2


Case 3:06-cr-00149-TWP-CCS Document 1 Filed 11/07/06 Page 1 of 2 PageID #:
                               <pageID>
                                           Count Two

              The Grand Jury charges that on or about May 17, 2005, in the Eastern District of

Tennessee, Defendant BRIAN KEITH JONES, having previously been convicted in a court of a

crime punishable by a term of imprisonment exceeding one year, did knowingly possess, in and

affecting commerce, ammunition, namely one (1) round of CCI 9mm ammunition and four (4)

rounds of Winchester 9mm ammunition.

[Title 18, United States Code, Section 922(g)(1)]




                                     A TRUE BILL:


                                     s/ Foreperson
                                     Grand Jury Foreperson




     James R. Dedrick
     United States Attorney



By: s/ Tracy L. Stone
    Tracy L. Stone
    Assistant United States Attorney




                                          Page 2 of 2


Case 3:06-cr-00149-TWP-CCS Document 1 Filed 11/07/06 Page 2 of 2 PageID #:
                               <pageID>
